                IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
________________________________________

 CRAIG CUNNINGHAM, individually and
 on behalf of a class of all persons and
 entities similarly situated,
                                                Case No. 3:22-cv-100
              Plaintiff,

 vs.                                               CLASS ACTION COMPLAINT
                                                      [Jury Trial Demanded]
 ENSURE HEALTH GROUP CORP.,

              Defendant.



                           CLASS ACTION COMPLAINT

       Plaintiff Craig Cunningham (hereinafter referred to as “Plaintiff”),

individually and on behalf of all others similarly situated, alleges on personal

knowledge, investigation of his counsel, and on information and belief, as follows:


                              Preliminary Statement

       1.    Plaintiff Craig Cunningham brings this action under the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a federal statute enacted in

response to widespread public outrage about the proliferation of intrusive, nuisance

telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 132 S.

       2.    Ensure Health Group Corp. (“Ensure Health”) sent pre-recorded

telemarketing calls to cellular telephones, like Mr. Cunningham’s, which is

prohibited by the TCPA.



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      3.     The Plaintiff also brings this action alleging violations of the North

Carolina Telephone Solicitations Act, §75-100 et. seq. (“NCTSA”) because the calls

were made using pre-recorded messages.

      4.     The Plaintiff never consented to receive the call, which were placed to

him for telemarketing purposes. Because telemarketing campaigns generally place

calls to thousands or even millions of potential customers en masse, the Plaintiff

brings this action on behalf of a proposed nationwide class of other persons who

received illegal telemarketing calls from or on behalf of Defendant.

      5.     A class action is the best means of obtaining redress for the

Defendant’s wide scale illegal telemarketing and is consistent both with the private

right of action afforded by the TCPA and the fairness and efficiency goals of Rule 23

of the Federal Rules of Civil Procedure.


                                        Parties

      6.     Plaintiff Craig Cunningham maintains a residence in North Carolina.

      7.     Defendant Ensure Health Group Corp. is a Delaware corporation with

its principal place of business in Florida.

                               Jurisdiction & Venue

      8.     The Court has subject-matter jurisdiction under 28 U.S.C. § 1331

because the Plaintiff’s claims arise under federal law. This Court also has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) over the NCTSA claims

as they arise from the same case and controversy, the telemarketing campaign of

the Defendant.

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        9.    This Court has jurisdiction over the defendant. Ensure Health

regularly engages in business in this District, including making telemarketing calls

into this District and servicing customers in this District.

        10.   Venue is proper under 28 U.S.C. § 1391(b)(1) because the Defendant is

a resident of this District and 28 U.S.C. § 1391(b)(2) because the telemarketing calls

at issue were made into this District.

                      The Telephone Consumer Protection Act

        11.   In 1991, Congress enacted the TCPA to regulate the explosive growth

of the telemarketing industry. In so doing, Congress recognized that “[u]nrestricted

telemarketing . . . can be an intrusive invasion of privacy [.]” Telephone Consumer

Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. §

227).



The TCPA Prohibits Automated Telemarketing Calls

        12.   The TCPA makes it unlawful to make any call (other than a call made

for emergency purposes or made with the prior express consent of the called party)

using an automatic telephone dialing system or an artificial or prerecorded voice to

any telephone number assigned to a cellular telephone service or that is charged per

the call. See 47 U.S.C. § 227(b)(1)(A)(iii).

(1)           The TCPA provides a private cause of action to persons who receive

calls in violation of 47 U.S.C. § 227(b)(1)(A) or 47 U.S.C. § 227(b)(1)(B). See 47

U.S.C. § 227(b)(3).



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(1)    According to findings by the Federal Communication Commission (“FCC”),

the agency Congress vested with authority to issue regulations implementing the

TCPA, such calls are prohibited because, as Congress found, automated or

prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient.

(1)    In 2013, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential

lines. Specifically, it ordered that:

       [A] consumer’s written consent to receive telemarketing robocalls must
       be signed and be sufficient to show that the consumer: (1) received “clear
       and conspicuous disclosure” of the consequences of providing the
       requested consent, i.e., that the consumer will receive future calls that
       deliver prerecorded messages by or on behalf of a specific seller; and (2)
       having received this information, agrees unambiguously to receive such
       calls at a telephone number the consumer designates.[] In addition, the
       written agreement must be obtained “without requiring, directly or
       indirectly, that the agreement be executed as a condition of purchasing
       any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).



The North Carolina Telephone Solicitations Act

       13.    The NCTSA states that “no person may use an automatic dialing and

recorded message player to make an unsolicited telephone call.” §75-104(a).

       14.    The statute authorizes telephone subscribers that are aggrieved to file

a civil action.




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                                 Factual Allegations

      15.    Ensure Health is a company that sells and provides health insurance

services to consumers in various states, including North Carolina.

      16.    To generate new customers, Ensure Health relies on telemarketing.

The Call to Mr. Cunningham


      17.    Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

      18.    Plaintiff’s cellular telephone number is (704) 444-XXXX.

      19.    Mr. Cunningham uses the number for personal, residential, and

household reasons.

      20.    Mr. Cunningham did not provide his prior express written consent to

receive pre-recorded calls from the Defendant.

      21.    Yet, on January 25, 2022 and February 1, 2022, the Plaintiff received a

pre-recorded call from the Defendant.

      22.    The Plaintiff could tell the call was initiated using a recorded message

player based on the hold music, choppy audio, dead air, unnatural pauses and

general characteristics of the call.

      23.    This is also indicative of the facts that the calls were transmitted en

masse.

      24.    Furthermore, even those the calls were not originated from North

Carolina, the caller used “spoofed” Caller ID numbers to make it appear that the

calls were local to Mr. Cunningham.




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       25.   This is done in connection with en masse calling in an attempt to

increase the likelihood call recipients will answer their calls.

       26.   The pre-recorded message then started by saying “My name is Anna,

and I'm calling from the Healthcare Enrollment Center. And the reason I'm calling

today is that there are millions of Americans who are qualified for health insurance

assistance, and some even qualified for free insurance coverage.”

       27.   The solicitation for Ensure Health continued through Ensure Health’s

employee “Anthony” on the January 25, 2022 call.

       28.   The solicitation for Ensure Health continued through Ensure Health’s

employee “Dale” on the February 1, 2022 call.

       29.   On both calls, the individuals asked Mr. Cunningham questions about

his income level and health insurance coverage.

       30.   They also asked Mr. Cunningham his employment information and

provided a website for Bright Healthcare, the entity that they were promoting on

the calls.

       31.   They did so in an attempt to see solicit Mr. Cunningham to apply for

insurance.

       32.   On the February 1, 2022 call, Ensure Health sent Mr. Cunningham an

e-mail confirming the solicitation.

       33.   Indeed, in that e-mail Ensure Health assigned Mr. Cunningham a

“Customer ID” number.




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       34.    The e-mail also stated that the agent on record for the call was

“Cristhian Dalai Crevoisier”.

       35.    Plaintiff and the other call recipients were harmed by these calls. They

were temporarily deprived of legitimate use of their phones because their phone

lines were tied up during the telemarketing calls and their privacy was improperly

invaded.

       36.    The Plaintiff did not provide his prior express written consent to

receive the calls.

                                Class Action Statement

      37.     As authorized by Rule 23(b)(2) or (b)(3) of the Federal Rules of Civil

Procedure, Plaintiff brings this action on behalf of a class of all other persons or

entities similarly situated throughout the United States.

       38.    The classes of persons Plaintiff proposes to represent is tentatively

defined as:

       Robocall Class: All persons within the United States: (1) to whose cellular
       telephone number or other number for which they are charged for the call (2)
       Defendant (or an agent acting on behalf of Defendant) placed a telemarketing
       call (3) within the four years prior to the filing of the Complaint (4) using an
       identical or substantially similar pre-recorded message used to place
       telephone calls to Plaintiff.

       NCTSA Recorded Message Class: All North Carolina Telephone
       Subscribers whose (1) telephone numbers received calls using a recorded
       message player (2) from or on behalf of Defendant (3) from four years
       prior the filing of the Complaint through trial.

These are referred to as the “Classes”.




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      39.    Excluded from the Classes are counsel, the Defendant, and any entities

in which the Defendant have a controlling interest, the Defendant’s agents and

employees, any judge to whom this action is assigned, and any member of such

judge’s staff and immediate family.

      40.    The Classes as defined above are identifiable through phone records

and phone number databases.

      41.    The potential members of the Classes number at least in the hundreds.

      42.    Individual joinder of these persons is impracticable.

      43.    The Plaintiff is a member of the Classes.

      44.    There are questions of law and fact common to Plaintiff and to the

proposed Class, including but not limited to the following:

             (a) whether Defendant systematically made automated robocalls;

             (b) whether Defendant made calls to Plaintiff and members of the
                 Classes without first obtaining prior express written consent to
                 make the calls; and

             (c) whether Defendant’s conduct constitutes a violation of the TCPA or
                 the NCTSA;

      45.    Plaintiff’s claims are typical of the claims of members of the Classes.

      46.    Plaintiff is an adequate representative of the Classes because his

interests do not conflict with the interests of the Classes, he will fairly and

adequately protect the interests of the Class, and he is represented by counsel

skilled and experienced in class actions, including TCPA class actions.

      47.    Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method

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for fair and efficient adjudication of the controversy. The only individual question

concerns identification of class members, which will be ascertainable from records

maintained by Defendant and/or their agents.

       48.    The likelihood that individual members of the class will prosecute

separate actions is remote due to the time and expense necessary to prosecute an

individual case.



                            FIRST CAUSE OF ACTION

             Violation of the Telephone Consumer Protection Act
                47 U.S.C. 227(b) on behalf of the Robocall Class

       49.    Plaintiff incorporates the allegations from all previous paragraphs as if

fully set forth herein.

       50.    The foregoing acts and omissions of Defendant and/or their affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of the TCPA, 47 U.S.C. § 227, by making calls,

except for emergency purposes, to the cellular telephone numbers of Plaintiff and

members of the Class delivering pre-recorded messages.

       51.    As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s violations of the TCPA, 47 U.S.C.

§ 227, Plaintiff and members of the Class presumptively are entitled to an award of

$500 in damages for each and every call made to their residential or cellular

telephone numbers using an artificial or prerecorded voice in violation of the

statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

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       52.     If the Defendant’s conduct is found to be knowing or willful, the

Plaintiff and members of the Class are entitled to an award of up to treble damages.

       53.     Plaintiff and members of the Class are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from violating the TCPA, 47 U.S.C.

§ 227, by making calls, except for emergency purposes, to any cellular telephone

numbers using an artificial or prerecorded voice in the future.

                            SECOND CAUSE OF ACTION

            North Carolina Telephone Solicitations Act, §75-100 et. seq.
                   (On Behalf of Plaintiff and the NCTSA Class)


       54.    Plaintiff repeats the prior allegations of this Complaint and

incorporates them by reference herein.

       55.     The foregoing acts and omissions of Defendant and/or its affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of the NCTSA, by using a recorded message

player to make an unsolicited telephone call.

       56.     As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf violations of the NCTSA, the

Plaintiff is entitled to at least $500.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for

the following relief:

       A.      Certification of the proposed Classes;

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      B.     For a trial by jury;

      C.     Appointment of Plaintiff as a representative of the Classes;

      D.     Appointment of the undersigned counsel as counsel for the Classes;

      E.     A declaration that Defendant and/or their affiliates, agents, and/or

other related entities’ actions complained of herein violate the TCPA and NCTSA;

      F.     An order enjoining Defendant and/or their affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf from making calls using pre-

recorded message, except for emergency purposes, in the future.

      G.     An award to Plaintiff and the Classes of damages, attorneys’ fees and

costs, as allowed by law; and

      H.     Orders granting such other and further relief as the Court deems

necessary, just, and proper.

Respectfully submitted and dated this the 10th day of March, 2022.


                                           MAGINNIS HOWARD
                                           Counsel for Plaintiff

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